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  Alfred, Martinez, Tova                                         Screenplay - 000001
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 2 of 112 Page ID #:27
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  Alfred, Martinez, Tova                                         Screenplay - 000002
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 3 of 112 Page ID #:28
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  Alfred, Martinez, Tova                                         Screenplay - 000003
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 4 of 112 Page ID #:29
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  Alfred, Martinez, Tova                                         Screenplay - 000004
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 5 of 112 Page ID #:30
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  Alfred, Martinez, Tova                                         Screenplay - 000005
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  Alfred, Martinez, Tova                                         Screenplay - 000006
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  Alfred, Martinez, Tova                                         Screenplay - 000007
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  Alfred, Martinez, Tova                                         Screenplay - 000008
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  Alfred, Martinez, Tova                                         Screenplay - 000009
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 10 of 112 Page ID #:35
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  Alfred, Martinez, Tova                                          Screenplay - 000010
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 11 of 112 Page ID #:36
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  Alfred, Martinez, Tova                                          Screenplay - 000011
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 12 of 112 Page ID #:37
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  Alfred, Martinez, Tova                                          Screenplay - 000012
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 13 of 112 Page ID #:38
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  Alfred, Martinez, Tova                                          Screenplay - 000013
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 14 of 112 Page ID #:39
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  Alfred, Martinez, Tova                                          Screenplay - 000014
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 15 of 112 Page ID #:40
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  Alfred, Martinez, Tova                                          Screenplay - 000015
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 16 of 112 Page ID #:41
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  Alfred, Martinez, Tova                                          Screenplay - 000016
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 17 of 112 Page ID #:42
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  Alfred, Martinez, Tova                                          Screenplay - 000017
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 18 of 112 Page ID #:43
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  Alfred, Martinez, Tova                                          Screenplay - 000018
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  Alfred, Martinez, Tova                                          Screenplay - 000019
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  Alfred, Martinez, Tova                                          Screenplay - 000020
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  Alfred, Martinez, Tova                                          Screenplay - 000021
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 22 of 112 Page ID #:47
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  Alfred, Martinez, Tova                                          Screenplay - 000022
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 23 of 112 Page ID #:48
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  Alfred, Martinez, Tova                                          Screenplay - 000023
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 24 of 112 Page ID #:49
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  Alfred, Martinez, Tova                                          Screenplay - 000024
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 25 of 112 Page ID #:50
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  Alfred, Martinez, Tova                                          Screenplay - 000025
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 26 of 112 Page ID #:51
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  Alfred, Martinez, Tova                                          Screenplay - 000026
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 27 of 112 Page ID #:52
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  Alfred, Martinez, Tova                                          Screenplay - 000027
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 28 of 112 Page ID #:53
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  Alfred, Martinez, Tova                                          Screenplay - 000028
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 29 of 112 Page ID #:54
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  Alfred, Martinez, Tova                                          Screenplay - 000029
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 30 of 112 Page ID #:55
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  Alfred, Martinez, Tova                                          Screenplay - 000030
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 31 of 112 Page ID #:56
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  Alfred, Martinez, Tova                                          Screenplay - 000031
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  Alfred, Martinez, Tova                                          Screenplay - 000032
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  Alfred, Martinez, Tova                                          Screenplay - 000033
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 34 of 112 Page ID #:59
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  Alfred, Martinez, Tova                                          Screenplay - 000034
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  Alfred, Martinez, Tova                                          Screenplay - 000035
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 36 of 112 Page ID #:61
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  Alfred, Martinez, Tova                                          Screenplay - 000036
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 37 of 112 Page ID #:62
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  Alfred, Martinez, Tova                                          Screenplay - 000037
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  Alfred, Martinez, Tova                                          Screenplay - 000038
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 39 of 112 Page ID #:64
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  Alfred, Martinez, Tova                                          Screenplay - 000039
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  Alfred, Martinez, Tova                                          Screenplay - 000040
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  Alfred, Martinez, Tova                                          Screenplay - 000041
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  Alfred, Martinez, Tova                                          Screenplay - 000042
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  Alfred, Martinez, Tova                                          Screenplay - 000043
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  Alfred, Martinez, Tova                                          Screenplay - 000044
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  Alfred, Martinez, Tova                                          Screenplay - 000045
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  Alfred, Martinez, Tova                                          Screenplay - 000046
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  Alfred, Martinez, Tova                                          Screenplay - 000047
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  Alfred, Martinez, Tova                                          Screenplay - 000048
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  Alfred, Martinez, Tova                                          Screenplay - 000049
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  Alfred, Martinez, Tova                                          Screenplay - 000050
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  Alfred, Martinez, Tova                                          Screenplay - 000051
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  Alfred, Martinez, Tova                                          Screenplay - 000052
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  Alfred, Martinez, Tova                                          Screenplay - 000053
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 54 of 112 Page ID #:79
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  Alfred, Martinez, Tova                                          Screenplay - 000054
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  Alfred, Martinez, Tova                                          Screenplay - 000055
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  Alfred, Martinez, Tova                                          Screenplay - 000056
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  Alfred, Martinez, Tova                                          Screenplay - 000057
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  Alfred, Martinez, Tova                                          Screenplay - 000058
Case 2:18-cv-08074-CBM-AS Document 1-1 Filed 11/14/17 Page 59 of 112 Page ID #:84
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  Alfred, Martinez, Tova                                          Screenplay - 000059
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  Alfred, Martinez, Tova                                          Screenplay - 000060
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  Alfred, Martinez, Tova                                          Screenplay - 000061
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  Alfred, Martinez, Tova                                          Screenplay - 000062
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  Alfred, Martinez, Tova                                          Screenplay - 000063
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  Alfred, Martinez, Tova                                          Screenplay - 000064
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  Alfred, Martinez, Tova                                          Screenplay - 000065
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  Alfred, Martinez, Tova                                          Screenplay - 000066
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  Alfred, Martinez, Tova                                          Screenplay - 000067
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  Alfred, Martinez, Tova                                          Screenplay - 000068
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  Alfred, Martinez, Tova                                          Screenplay - 000069
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  Alfred, Martinez, Tova                                          Screenplay - 000070
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  Alfred, Martinez, Tova                                          Screenplay - 000071
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  Alfred, Martinez, Tova                                          Screenplay - 000072
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  Alfred, Martinez, Tova                                          Screenplay - 000073
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  Alfred, Martinez, Tova                                          Screenplay - 000074
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   Alfred, Martinez, Tova                                         Screenplay - 000075
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   Alfred, Martinez, Tova                                         Screenplay - 000076
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   Alfred, Martinez, Tova                                         Screenplay - 000077
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   Alfred, Martinez, Tova                                         Screenplay - 000078
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   Alfred, Martinez, Tova                                         Screenplay - 000079
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   Alfred, Martinez, Tova                                         Screenplay - 000080
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   Alfred, Martinez, Tova                                         Screenplay - 000081
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   Alfred, Martinez, Tova                                         Screenplay - 000082
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   Alfred, Martinez, Tova                                         Screenplay - 000083
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   Alfred, Martinez, Tova                                         Screenplay - 000084
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   Alfred, Martinez, Tova                                         Screenplay - 000085
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   Alfred, Martinez, Tova                                         Screenplay - 000086
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   Alfred, Martinez, Tova                                         Screenplay - 000087
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   Alfred, Martinez, Tova                                         Screenplay - 000088
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   Alfred, Martinez, Tova                                         Screenplay - 000089
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   Alfred, Martinez, Tova                                         Screenplay - 000090
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   Alfred, Martinez, Tova                                         Screenplay - 000091
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   Alfred, Martinez, Tova                                         Screenplay - 000092
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   Alfred, Martinez, Tova                                         Screenplay - 000093
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   Alfred, Martinez, Tova                                         Screenplay - 000094
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   Alfred, Martinez, Tova                                         Screenplay - 000095
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   Alfred, Martinez, Tova                                         Screenplay - 000096
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   Alfred, Martinez, Tova                                         Screenplay - 000097
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   Alfred, Martinez, Tova                                         Screenplay - 000098
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   Alfred, Martinez, Tova                                         Screenplay - 000099
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 Alfred, Martinez, Tova                                           Screenplay - 000100
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 Alfred, Martinez, Tova                                           Screenplay - 000101
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 Alfred, Martinez, Tova                                           Screenplay - 000102
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 Alfred, Martinez, Tova                                           Screenplay - 000103
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 Alfred, Martinez, Tova                                           Screenplay - 000104
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 Alfred, Martinez, Tova                                           Screenplay - 000105
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 Alfred, Martinez, Tova                                           Screenplay - 000106
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 Alfred, Martinez, Tova                                           Screenplay - 000107
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 Alfred, Martinez, Tova                                           Screenplay - 000108
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 Alfred, Martinez, Tova                                           Screenplay - 000109
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 Alfred, Martinez, Tova                                           Screenplay - 000110
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 Alfred, Martinez, Tova                                           Screenplay - 000111
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 Alfred, Martinez, Tova                                           Screenplay - 000112
